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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NEW YORK




In re M&T Bank Corporation ERISA Litigation               Case No. 1:16-cv-375-FPG-JJM
                                                          Consolidated Action




        DECLARATION OF TYLER M. DATO IN SUPPORT OF DEFENDANTS’
           MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                  MOTION FOR CLASS CERTIFICATION

       I, TYLER M. DATO, hereby affirm under penalty of perjury that the following is true

and correct:

       1.      I am a member in good standing of the Bar of the State of New York and have been

admitted to practice before this Court. I am an associate of the law firm of Sullivan & Cromwell

LLP, counsel to Defendants in the above-captioned action.

       2.      I submit this Declaration in support of Defendants’ Memorandum of Law in

Opposition to Plaintiffs’ Motion for Class Certification, and to put before the Court true and correct

copies, to the best of my knowledge, of the documents described below and annexed hereto.

  Appendix A to the Prospectus/Summary Plan                                                Exhibit 1
  Description for the M&T Bank Corporation
  Retirement Savings Plan, dated June 7, 2010
  (excerpt)
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Prospectus/Summary Plan Description for the                      Exhibit 2
M&T Bank Corporation Retirement Savings
Plan Summary Plan, dated January 1, 2011
(excerpt)


Appendix A to the Prospectus/Summary Plan                        Exhibit 3
Description for the M&T Bank Corporation
Retirement Savings Plan, dated January 1, 2012
(excerpt)


Appendix A to the Prospectus/Summary Plan                        Exhibit 4
Description for the M&T Bank Corporation
Retirement Savings Plan, dated January 1, 2017
(excerpt)


2018 Qualified Default Investment Alternative                    Exhibit 5
Notice


Jacqueline Allen Deposition Transcript (excerpt)                 Exhibit 6


Declaration of Jonathan J. Ossip                                 Exhibit 7


Plaintiffs’ Interrogatory Responses (excerpt)                    Exhibit 8


Jacqueline Allen Indictment                                      Exhibit 9


Jacqueline Allen Plea Agreement                                 Exhibit 10


Jacqueline Allen Criminal Docket Report                         Exhibit 11


Sa’ud Habib Deposition Transcript (excerpt)                     Exhibit 12


Sa’ud Habib Resume                                              Exhibit 13


Russell Dixon Deposition Transcript (excerpt)                   Exhibit 14



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Janet Smith Deposition Transcript (excerpt)                             Exhibit 15


Kenneth Sliwinski Deposition Transcript                                 Exhibit 16
(excerpt)


Beverly Williams Deposition Transcript                                  Exhibit 17
(excerpt)


Nichols Kaster Advertisement                                            Exhibit 18


Sa’ud Habib Release                                                     Exhibit 19


Jacqueline Allen Release                                                Exhibit 20


Kenneth Sliwinski Release                                               Exhibit 21


M&T Bank Employee Benefit Plans Committee                               Exhibit 22
Meeting Materials, dated March 11, 2013
(excerpt)


M&T Bank Employee Benefit Plans Committee                               Exhibit 23
Meeting Materials, dated September 10, 2018
(excerpt)


Fifth Amendment to the Recordkeeping                                    Exhibit 24
Agreement (excerpt)


     Executed in New York, NY on April 26, 2019.


                                                    /s/ Tyler M. Dato
                                                    Tyler M. Dato




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